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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

CINDY GAMRAT,

              Plaintiff,                        Case No. 1:16-cv-01094
v.
                                                Hon. Gordon J. Quist
KEITH ALLARD, in his individual capacity;
BENJAMIN GRAHAM, in his individual
capacity; JOSHUA CLINE, in his individual
capacity; JOSEPH GAMRAT; MICHIGAN              DEFENDANT NORM SAARI’S BRIEF
HOUSE OF REPRESENTATIVES; KEVIN                IN RESPONSE TO PLAINTIFF’S
G. COTTER, in his individual capacity; TIM     MOTION TO FILE SUPPLEMENTAL
L. BOWLIN, in his individual capacity;         BRIEF WITH NEWLY ACQUIRED
BROCK SWARTZLE, in his individual              EVIDENCE
capacity; NORM SAARI, in his individual
capacity; EDWARD McBROOM, in his
individual capacity; HASSAN BEYDOUN,
in his individual capacity; DAVID HORR;
and VINCENT KRELL,

              Defendants.

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                                        INTRODUCTION

        On January 22, 2018, Plaintiff filed a supplemental brief in support of her Responses’ to

Defendants’ respective Motions to Dismiss. Dkt # 54. On January 24, 2018, the Court sua sponte

struck Plaintiff’s supplement brief for failing to obtain leave of court. Dkt # 57. Almost one month

later, on February 23, 2018, Plaintiff filed a Motion for Leave to File a Supplemental Brief with

Newly Acquired Evidence. For the reasons that follow, this motion should be denied.

                                            ANALYSIS

        As the Court noted in its January 24, 2018 Order, Western District of Michigan Local Rule

7.2(c) permits an opening brief by the movant, a response brief by the non-movant, and a reply

brief by the movant. This briefing was complete on August 1, 2017 – almost seven months ago -

relative to the Motion to Dismiss filed by Defendant Norm Saari.

        While the Local Rules allow this Court to permit or to require additional briefing, such

briefing is inappropriate here as none of the alleged “newly acquired evidence” may be considered

in connection with Defendant Saari’s pending Motion to Dismiss. Defendant Saari seeks dismissal

pursuant to Federal Rule of Civil Procedure 12(b)(1) & (6) based on immunity and Plaintiff’s

failure to state a claim. The alleged “newly acquired evidence” has no bearing on Defendant

Saari’s Motion to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1). In addition, the

only relevant inquiry with respect to Defendant Saari’s Motion to Dismiss pursuant to Federal

Rule of Civil Procedure 12(b)(6) is whether Plaintiff’s Amended Complaint contains factual

allegations sufficient to “raise the right of relief above the speculative level.” Ashcroft, et al. v.

Iqbal, et al., 556 U.S. 662, 677-78 (2009).       Plaintiff’s suggestion in her Motion to File a

Supplemental Brief that she only recently learned that computers were purportedly altered in an




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alleged violation of a litigation hold has no bearing on Defendant Saari’s Motion to Dismiss for

failure to state a claim.1

                                        CONCLUSION

          Accordingly, for the foregoing reasons, Defendant Norm Saari respectfully requests

Plaintiff’s Motion for Leave to File a Supplemental Brief with Newly Acquired Evidence be

denied.



                                            Respectfully Submitted,

                                            EVANS LAW GROUP, P.C.


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Dated: March 2, 2018                          Attorney for Defendant Saari




1
 Further, Plaintiff’s suggestion that adverse inferences or summary judgment in her favor are
warranted is clearly premature. Discovery has not even commenced in this matter, the contents
of the computers used by Plaintiff have not been fully explored by the parties, nor has any
determination been made as to whether any relevant information was lost for allegedly failing to
comply with a litigation hold.
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on March 2, 2018, I electronically filed the foregoing t Response to

Motion for Leave to File Supplemental Brief with Newly Acquired Evidence with the Clerk of the

Court using the ECF system which will send notification of such filing to all counsel of record.



                                             /s/ Cameron J. Evans
                                             Cameron J. Evans




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